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     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13                                 SOUTHERN DIVISION

14   UNITED STATES OF AMERICA,                No. SA CR 19-00047-JLS

15             Plaintiff,                     STIPULATION FOR PROTECTIVE ORDER

16             v.

17   STEPHEN WILLIAM BEAL,

18             Defendant.

19

20        Plaintiff United States of America, by and through its counsel
21   of record, Assistant United States Attorney Mark Takla, and defendant
22   STEPHEN WILLIAM BEAL, by and through their counsel of record, Deputy
23   Federal Public Defender Amy Karlin, hereby stipulate as follows:
24        1.    Defendant STEPHEN WILLIAM BEAL is currently charged in an
25   indictment with violations of the following offenses: 18 U.S.C.
26   § 2332a(a)(2) (Use of a Weapon of Mass Destruction Resulting in
27   Death); 18 U.S.C. § 844(i) (Malicious Destruction of a Building
28   Resulting in Death); 18 U.S.C. § 924(c) (Use of a Destructive Device
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1    During and in Relation to a Crime of Violence); and 26 U.S.C.

2    § 5861(d) (Possession of an Unregistered Destructive Device).

3         2.     Pursuant to its discovery obligations in this case, the

4    government wants to disclose to defendant’s counsel in discovery

5    certain materials that the government represents implicate third-

6    party privacy, law enforcement sensitive or national security

7    concerns.   In addition, some of these materials are electronic in

8    origin, making mitigation of these concerns through redaction

9    problematic.    These materials are collectively as “Protective Order

10   Material(s)” in the attached proposed protective order.

11        3.     The parties have conferred and agree to the terms of the

12   attached proposed protective order.

13        IT IS SO STIPULATED.

14   Dated: March 26, 2019                Respectfully submitted,

15                                        NICOLA T. HANNA
                                          United States Attorney
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                                          PATRICK R. FITZGERALD
17                                        Assistant United States Attorney
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18

19
                                          MARK TAKLA
20                                        ANNAMARTINE SALICK
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22                                        UNITED STATES OF AMERICA

23

24      /s/ by email authorization                        March 26, 2019
     AMY KARLIN                                    Date
25   Attorney for Defendant
     Stephen William Beal
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